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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   Designated Counsel for Service
     801 I Street, 3rd Floor
 3   Sacramento, California 95814
     Telephone: (916) 498-5700
 4
 5   Attorney for Defendant
     DARRON ANTJUAN REED
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. CR-S-07-348-FCD
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
14        v.                         )
                                     )
15   DARRON ANTJUAN REED,            )     Date: August 18, 2008
                                     )     Time: 10:00 a.m.
16                  Defendant.       )     Judge: Hon. Frank C. Damrell, Jr.
                                     )
17   _______________________________ )
18        IT IS HEREBY STIPULATED by and between the parties hereto through
19   their respective counsel, Phillip Ferrari, Assistant United States,
20   attorney for Plaintiff, and Daniel Broderick, Federal Defender,
21   attorney for DARRON ANTJUAN REED, that the current Status
22   Conference/Change of Plea currently scheduled for August 4, 2008 be
23   vacated, and a new date of August 18, 2008 at 10:00 a.m. be set for
24   further status/change of plea.
25        Both defense counsel have met and discussed probable resolution of
26   this case and additional time is needed for a further meeting among the
27   parties wherein resolution of this case is anticipated.
28        IT IS FURTHER ORDERED and agreed between the parties that the
            Case 2:07-cr-00348-MCE Document 47 Filed 07/31/08 Page 2 of 2


 1   period from the signing of this order through and including August 18,
 2   2008, should be excluded in computing the time within which the trial
 3   of the above criminal prosecution must commence for purposes of the
 4   Speedy Trial Act for defense preparation.        All parties stipulate and
 5   agree that this is an appropriate exclusion of time within the meaning
 6   of Title 18, United States Code, Section 3161(h)(8)(iv) and Local Code
 7   T4.
 8   Dated: July 31, 2008                    Respectfully submitted,
 9
10                                           /s/ Daniel J. Broderick
                                             DANIEL J. BRODERICK
11                                           Federal Defender
                                             Attorney for Defendant
12                                           DARRON ANTJUAN REED
13
14                                           MCGREGOR W. SCOTT
                                             United States Attorney
15
16                                           /s/Daniel Broderick for
                                             PHILIP FERRARI
17                                           Assistant U.S. Attorney
18
19                                         ORDER
20   IT IS SO ORDERED.
21   DATED: July 31, 2008
22                                          _______________________________________
                                            FRANK C. DAMRELL, JR.
23                                          UNITED STATES DISTRICT JUDGE
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26
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28


     Stip & Order/Darron Reed               -2-
